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      In The United States Court of Federal Claims
                                         No. 09-814C

                                     (Filed: May 14, 2010)
                                          __________

 PEW FOREST PRODUCTS,

                       Plaintiff,

        v.

 THE UNITED STATES,

                       Defendant.
                                          _________

                                           ORDER
                                          __________

       A telephonic preliminary status conference will be held in this case on Thursday, May 27,
2010, at 2:00 p.m. (EDT). Chambers will contact the parties shortly before the scheduled
conference time.

       IT IS SO ORDERED.



                                                           s/ Francis M. Allegra
                                                           Francis M. Allegra
                                                           Judge
